






	

	








NUMBER 13-06-529-CR


COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


_______________________________________________________


JAMES MILLER,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

_______________________________________________________


On appeal from the 214th District Court 


of Nueces County, Texas.


_______________________________________________________


MEMORANDUM OPINION



Before Justices Rodriguez, Castillo, and Garza


Memorandum Opinion Per Curiam



	Appellant, JAMES MILLER, perfected an appeal from a judgment entered by the 
214th District Court of Nueces County, Texas,  in cause number 06-CR-0015-F. 
Appellant has filed a motion to dismiss the appeal.  The motion complies with Tex. R.
App. P. 42.2(a).

	The Court, having considered the documents on file and appellant's motion to
dismiss the appeal, is of the opinion that appellant's motion to dismiss the appeal
should be granted.  Appellant's motion to dismiss the appeal is granted, and the appeal
is hereby DISMISSED.

							PER CURIAM

Do not publish.

Tex. R. App. P. 47.2(b).

Memorandum Opinion delivered and 

filed this the 16th day of November, 2006.





					


